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                   for tf)e Jfiftf) Circuit                   United States Court of Appeals
                                                                       Fifth Circuit

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                              No.24-50783
                                                                 October 4, 2024
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                                                                        Clerk

 La Union del Pueblo Entero; Mexican American Bar
 Association of Texas; LULAC Texas; Texas Alliance for
 Retired Americans; Texas AFT; OCA-Greater Houston;
 League of Women Voters of Texas,

                                                       Plaintiffs—AppelleeSy

                                  versus



 Gregory W. Abbott, in his official capacity as Governor ofTexas]
 Warren K. Paxton, in his official capacity as Attorney General ofTexas\
 State of Texas; Jane Nelson, in her official capacity as Texas
 Secretary ofState] Harris County Republican Party; Dallas
 County Republican Party; National Republican
 Senatorial Committee,

                                                    Defendants—Appellants^

 Republican National Committee


                                                       Movant—Appellant,


 OCA-Greater Houston; League of Women Voters of
 Texas,

                                                        Plaintiffs- Appellees,

                                  versus
Case 5:21-cv-00844-XR   Document 1168   Filed 10/04/24   Page 2 of 3
Case 5:21-cv-00844-XR   Document 1168   Filed 10/04/24   Page 3 of 3
